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     United States of America
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8
9                              IN THE UNITED STATES DISTRICT COURT
10                          FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12    UNITED STATES OF AMERICA                           Case No. 1:22-cr-00241-JLT-SKO
13                    Plaintiff,                         STIPULATION TO CONTINUE STATUS
                                                         CONFERENCE; ORDER
14
            v.
15
      RICHARD BEST
16
                     Defendant.
17
18
19          IT IS HEREBY STIPULATED by and between the parties through their respective
20   counsel that the status conference scheduled for May 31, 2023, may be continued until August
21   16, 2023, at 1:00 p.m., before the Honorable Sheila K. Oberto. The government has produced
22   discovery to defense counsel. Defense counsel has further investigation to perform in this case.
23   The parties agree that time under the Speedy Trial Act shall be excluded through August 16,
24   2023, in the interests of justice, including but not limited to, the need for effective defense
25   preparation and defense investigation pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and
26   3161(h)(7)(B)(i) and (iv).
27   ///
28   ///
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1    The parties also agree that the ends of justice served by taking this action outweigh the best
2    interests of the public and of the Defendant to a speedy trial.
3
4     Dated: May 23, 2023                                  /s/ Jeffrey Hammerschmidt
                                                           JEFFREY HAMMERSCHMIDT
5                                                          Counsel for Richard Best
6
      Dated: May 23, 2023                                  /s/ Joseph Barton
7
                                                           JOSEPH BARTON
8                                                          Assistant United States Attorney

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     Case 1:22-cr-00241-JLT-SKO Document 19 Filed 05/25/23 Page 3 of 3


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      UNITED STATES OF AMERICA                           Case No. 1:22-cr-00241-JLT-SKO
12
                    Plaintiff,                           ORDER
13
            v.
14
      RICHARD BEST
15
                    Defendant.
16
17
18          Upon the parties’ stipulation and for good cause shown, the status conference scheduled
19   for May 31, 2023, is continued until August 16, 2023, at 1:00 p.m., before the Honorable Sheila
20   K. Oberto. The period through August 16, 2023, inclusive, is excluded pursuant to 18 U.S.C. §§
21   3161(h)(7)(A) and 3161(h)(7)(B)(i) and (iv).
22          IT IS SO ORDERED.
23
24    DATED: 5/24/2023                              HONORABLE SHEILA K. OBERTO
25                                                  UNITED STATES MAGISTRATE JUDGE

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